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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

EARNEST LARRY STOCKER                                                      PLAINTIFF

v.                               4:21-CV-00771-BSM

JIMMY BRADLEY, Cleveland County,                                        DEFENDANTS
Arkansas Sheriff’s Dept., et al.

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 6th day of October, 2021.


                                              _________________________________
                                              UNITED STATES DISTRICT JUDGE
